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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


KAIL MARIE, MICHELLE L. BROWN,
KERRY WILKS, Ph.D., DONNA DITRANI,
JAMES E. PETERS, GARY A. MOHRMAN,
CARRIE L. FOWLER, SARAH C. BRAUN,
DARCI JO BOHNENBLUST, and
JOLEEN M. HICKMAN,

                      Plaintiffs,

v.                                                         Case No. 14-2518-DDC-TJJ

SUSAN MOSIER, M.D., in her official
capacity as Secretary of the Kansas
Department of Health and Environment,
DOUGLAS A. HAMILTON, in his official
capacity as Clerk of the District Court for the
7th Judicial District (Douglas County),
BERNIE LUMBRERAS, in her official
capacity as Clerk of the District Court for the
18th Judicial District (Sedgwick County),
NICK JORDAN, in his official capacity as
Secretary of the Kansas Department of
Revenue, LISA KASPAR, in her official
capacity as Director of the Kansas Department of
Revenue’s Division of Vehicles,
MIKE MICHAEL, in his official capacity
as Director of the Kansas State Employee
Health Plan.

                      Defendants.


                                    AMENDED JUDGMENT

        IT IS ORDERED THAT pursuant to the Memorandums and Orders filed on August 10,
2015 and July 22, 2016, the plaintiffs, Kail Marie, Michelle L. Brown, Kerry Wilks, Ph.D.,
Donna DiTrani, James E. Peters, Gary A. Mohrman, Carrie L. Fowler, Sarah C. Braun, Darci Jo
Bohnenblust and Joleen M. Hickman are granted judgment against defendants Susan Mosier,
M.D., in her official capacity as Secretary of the Kansas Department of Health and Environment,
Douglas A. Hamilton, in his official capacity as Clerk of the District Court for the 7th Judicial
District (Douglas County), Bernie Lumbreras, in her official capacity as Clerk of the District
Court for the 18th Judicial District (Sedgwick County), Nick Jordan, in his official capacity as
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Secretary of the Kansas Department of Revenue, Lisa Kaspar, in her official capacity as Director
of the Kansas Department of Revenue’s Division of Vehicles, Mike Michael, in his official
capacity as Director of the Kansas State Employee Health Plan on plaintiffs’ motion for
summary judgment (Doc. 85) seeking declaratory and permanent injunctive relief.

        IT IS FURTHER ORDERED THAT Article 15, § 16 of the Kansas Constitution,
K.S.A. § 23-2501, K.S.A. § 23-2508, and any other Kansas statute, law, policy, or practice that
prohibits issuing marriage licenses to same-sex couples in Kansas or recognizing such marriages
on the same terms and conditions that apply to opposite-sex couples are declared void and in
contravention of the Fourteenth Amendment to the United States Constitution.

        IT IS FURTHER ORDERED THAT defendants are permanently enjoined from
enforcing any portion of the Kansas Constitution, any Kansas statute, and any other Kansas law,
policy, or practice that prohibits issuing marriage licenses to same-sex couples in Kansas. This
prohibition includes but is not limited to Article 15, § 16 of the Kansas Constitution, Kan. Stat.
Ann. § 23-2501, and Kan. Stat. Ann. § 23-2508.

        IT IS FURTHER ORDERED THAT defendants (and their successors) are permanently
enjoined from treating same-sex married couples differently than they treat opposite-sex married
couples in the context of processing marriage licenses or determining the other rights,
protections, obligations, or benefits of marriage.

       IT IS SO ORDERED.

       Dated this 26th day of July, 2016, at Topeka, Kansas.



                                                     s/ Megan Garrett
                                                     By Deputy Clerk
                                                     TIMOTHY M. O’BRIEN
                                                     Clerk of the District Court


       Form approved this 26th day of July, 2016, at Topeka, Kansas.



                                                     s/ Daniel D. Crabtree
                                                     Daniel D. Crabtree
                                                     United States District Judge




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